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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA

                      Plaintiff,
                                                Case No. 09-CR-043-SPF

    v.

    LINDSEY KENT SPRINGER,
    OSCAR AMOS STILLEY

                      Defendants.


                      DECLARATION OF LINDSEY KENT SPRINGER

         I, Lindsey Kent Springer, declare that I am the defendant in the above

 captioned matter and I field my notice of appeal of this court’s sentence and

 judgement entered orally from the bench on April 23rd, 2010 to the United States

 Court of Appeals for the 10th Circuit. My notice of appeal was filed with the clerks

 office on April 23rd, 2010. I was able to pay the filing fees but am unable to pay the

 costs associated with obtaining transcripts pertinent to my appeal.



         This court has already found Springer lacks the ability to pay any fines. This

 court has also held previously Springer was provided certain trial expenses at public

 expense. I am currently imprisoned in the David L Moss correctional facility. There

 are literally thousands of documents in the record of this case. There are several

 issues this court is aware of that I raise in good faith on appeal to the 10th Circuit.



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 The trial transcripts are necessary for me to succeed on appeal. The last two

 months prior to incarceration, I earned a total of $4600.00 as the court is aware

 without release pending appeal I am unable to afford or contribute anything

 towards the cost of the transcripts. This court at sentencing directed me to file for

 the transcripts at public expense.



       Pursuant to Title 28 §1746(1), under the laws of the United States of America,

 I declare the forgoing is true and correct to the best of my knowledge and belief.




                                 Respectfully Submitted
                                 /s/ Lindsey K. Springer
                                 Lindsey K. Springer
                                 5147 S. Harvard, # 116
                                 Tulsa, Oklahoma 74135
                                 918-748-5539/955-8225(cell)




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